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Richard Alan Arnold, Esquire

William J. Blechman, Esquire

Kevin J. Murray, Esquire

James Almon, Esquire

Ryan C. Zagare, Esquire

Jalaine Garcia, Esquire

KENNY NACHWALTER, P.A,

201 S. Biscayne Boulevard

Suite 1100

Miami, Florida 33131

Tel: (305) 373-1000

Fax: (305) 372-1861

E-mail: rarnold(@knpa.com
wblechman@knpa.com
kmurray@knpa.com
jalmon@knpa.com
rzagare@knpa.com

jgarcia(@knpa.com

Counsel for Plaintiff Sears Roebuck and Co.
and Kmart Corp.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

No, 07-cv-5944-SC
IN RE CATHODE RAY TUBE (CRT) MDL No. 1917
ANTITRUST LITIGATION

Judge: Hon. Samuel Conti

Special Master: Hon. Charles A. Legge (Ret.)

This Document Relates to:

; APPLICATION FOR ADMISSION OF
ALL CASES ; ATTORNEY PRO HAC VICE

Pursuant to Civil L.R. 11-3, Ryan C. Zagare, an active member in good standing of the bar of the
State of Florida, hereby applies for admission to practice in the Northern District of California on a pro
hac vice basis representing Sears Roebuck and Co. and Kmart Corp. in the above-entitled action.

In support of this application, I certify on oath that:

l. I am an active member in good standing of a United States Court or of the highest court

of another State or District of Columbia, as indicated above;

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ATTORNEY PRO HAC VICE 1 MDL No. 1917

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2 I agree to abide by the Standards of Professional Conduct set forth in Civil Local Rule
11-4, to comply with General Order No. 45, Electronic Case Filing, and to become familiar with the

Local Rules and the Alternative Dispute Resolution programs of this Court; and

3. An attorney who is a member of the bar of this Court in good standing and who maintains
an office within the State of California has been designated as co-counsel in the above-entitled action.
The name, address and telephone number of that attorney is:

Gavin D. Whitis, Esquire (184133)
Pond North LLP
100 Spear Street
Suite 1200
San Francisco, CA 94105
Tel: (415) 217-1240
Fax: (415) 644-0578
E-mail: gwhitis@pondnorth.com

I declare under penalty of perjury that the foregoing i and c

DATED: February 11, 2013

201 S. Biscayne
Suite 1100
Miami, Florida 33131
Tel: (305) 373-1000
Fax: (305) 372-1861

E-mail: rzagare@knpa.com

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APPLICATION FOR ADMISSION CASE NO: 07-5944-SC
ATTORNEY PRO HAC VICE 2 MDL No. 1917

